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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 17-cv-60311-DIMITROULEAS / SNOW

  JANICE PARSON,

         Plaintiff,

  v.

  PENNYMAC LOAN SERVICES, LLC,

              Defendant.
  _______________________________________________/

                      ORDER DISMISSING ACTION WITH PREJUDICE

         THIS CAUSE is before the Court upon the Joint Stipulation for Final Order of Dismissal.

  [DE 24]. The Court has carefully considered Stipulation of Dismissal and is otherwise fully

  advised in this matter, and it is hereby

         ORDERED AND ADJUDGED that this action is DISMISSED WITH PREJUDICE.

  Each party shall bear their own attorney’s fees and costs, except as otherwise agreed. The Clerk

  is directed to CLOSE this action and DENY AS MOOT any pending motions.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 15th day of November, 2017.




  Copies to:
  Counsel of Record
